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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO: 0:22-cv-61826-AHS

 HOWARD MICHAEL CAPLAN,

        Plaintiff,

 v.

 ENTERPRISE AUTO SERVICE, INC., a
 Florida Profit Corporation and LAUDERDALE
 LAKES INDUSTRIAL PARK II, LTD., a
 Florida Limited Partnership,

       Defendants.
 ___________________________________/

  DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
                        TO THE COMPLAINT

        Defendant, LAUDERDALE LAKES INDUSTRIAL PARK II, LTD., hereafter referred to

 as “Lauderdale,” by and through the undersigned counsel, hereby files its Motion for Extension of

 Time to Respond to the Complaint and, as grounds therefore, states:

                                                  Introduction

        On September 28, 2022, Plaintiff filed the instant proceedings alleging that the physical

 condition of the real property owned by Lauderdale which is the subject of the Compliant is in

 violation of the Americans with Disabilities Act (“ADA”). Undersigned counsel was away on a

 pre-planned vacation when this litigation commenced. Lauderdale and Plaintiff are attempting to

 substantively resolve their disputes. Lauderdale requires additional time to resolve the parties’

 disputes by reviewing the condition of the property complained of and, without any admission, to

 obtain findings from its expert concerning what conditions may require improvements in an effort

 to avoid incurring additional attorney’s fees and costs unnecessarily. Lauderdale has retained an

 expert who may confirm whether the physical condition of the subject property is accurate and to
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                                                  Ryan M. Aboud, P.A.
                        980 N. Federal Hwy., Suite 110, Boca Raton, FL 33432 Tel. (561) 208-8205
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 assist with identifying and clarifying the scope of work necessary to cure any alleged violations.

 A report is forthcoming and will be voluntarily shared the same with Plaintiff’s counsel. It remains

 possible that some of the conditions do not represent ADA violations and do not need to be

 addressed while other conditions that may need to be addressed may not have been caused by and

 are not the responsibility of Lauderdale (notwithstanding its desire to amicably resolve this

 dispute); the expert’s report will assist the parties in clarifying their respective obligations.

                                       MEMORANDUM OF LAW

         Rule 6(b)(1)(A), Fed. R. Civ. P., provides that, when an act may or must be done within a

 specified time, the Court may, for good cause, extend the time with or without motion or notice if

 the Court acts, or if a request is made, before the original time or its extension expires. Good cause

 exists to extend the deadline for Lauderdale to respond to the Complaint. Lauderdale has not

 unduly delayed these proceedings and is acting as diligently as possible. Lauderdale retained

 counsel in this matter and has already engaged an expert to provide an expert report to minimize

 and avoid unnecessary delay. An extension of time is required to adequately prepare a response to

 the Complaint to the extent the parties are unable to amicably resolve their disputes. Undersigned

 counsel certifies that this motion is not made for the purpose of any delay, but, rather to allow

 Lauderdale to substantively resolve its disputes with Plaintiff or to file a responsive pleading after

 being provided with an opportunity to evaluate and comprehensively respond to Plaintiff’s

 allegations in light of the expert report that is forthcoming. No prejudice will occur to Plaintiff’s

 ability to prosecute their case and, further, the extension requested will not affect this Court’s

 ability to handle the proceeding.




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                                                   Ryan M. Aboud, P.A.
                         980 N. Federal Hwy., Suite 110, Boca Raton, FL 33432 Tel. (561) 208-8205
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                                                 CONCLUSION

          Wherefore, Lauderdale respectfully requests that this Court enter an Order granting

 Lauderdale an extension of time until November 11, 2022 to respond to the Complaint filed

 herein to the extent that the parties are unable to amicably and substantively resolve their

 disputes. The request is not opposed by the Plaintiff pursuant to the Certificate of Compliance

 below.

                                    CERTIFICATION OF COMPLIANCE

          Pursuant to Local Rule 7.1(a)(3), I hereby certify that undersigned counsel has conferred

 with counsel for Plaintiff, Ronald E. Stern, Esq., regarding the relief sought in this motion in a

 good faith effort to resolve the issues. Counsel for Plaintiff, Ronald E. Stern, Esq., does not

 oppose the relief requested in this Motion for an extension of time to respond to the Complaint

 until November 11, 2022.


 Dated: October 18, 2022                               Respectfully submitted,

                                                       Ryan M. Aboud, P.A.
                                                       Attorney for Defendant, LAUDERDALE LAKES
                                                       INDUSTRIAL PARK II, LTD.
                                                       980 N. Federal Hwy., Suite 110
                                                       Boca Raton, FL 33432
                                                       Telephone: (561) 208-8205
                                                       Telephone (954) 552-7739
                                                       Ryan@RMALaw.net
                                                       By: /s/ Ryan M. Aboud, Esq.
                                                               Ryan M. Aboud, Esq.
                                                               FBN: 27366




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                                                   Ryan M. Aboud, P.A.
                         980 N. Federal Hwy., Suite 110, Boca Raton, FL 33432 Tel. (561) 208-8205
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                                     CERTIFICATE OF SERVICE

         I hereby certify that, on October 18, 2022, I electronically filed the foregoing document
 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
 served this day on all counsel of record or pro se parties identified on the attached Service List in
 the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
 or in some other authorized manner for those counsel or parties who are not authorized to receive
 electronically Notice of Electronic Filing.
                                                       By: /s/ Ryan M. Aboud, Esq.
                                                               Ryan M. Aboud, Esq.
                                                               FBN: 27366

                                                     SERVICE LIST

 Ronald E. Stern, Esq.
 The Advocacy Law Firm, P.A.
 1250 East Hallandale Beach Blvd., Suite 503
 Hallandale Beach, FL 33009
 ronsternlaw@gmail.com




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                                                   Ryan M. Aboud, P.A.
                         980 N. Federal Hwy., Suite 110, Boca Raton, FL 33432 Tel. (561) 208-8205
